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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

SECURITIES AND EXCHANGE COMMISSION,
Plaintiff, No. 19 Civ. 9439 (PKC)
- against - ECF Case
TELEGRAM GROUP INC. and TON ISSUER INC.,
Defendants.

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DECLARATION OF LADAN F. STEWART IN SUPPORT
OF PLAINTIFF’S OPPOSITION TO DEFENDANTS’ MOTION FOR SUMMARY
JUDGMENT AND IN FURTHER SUPPORT OF PLAINTIFF'S
APPLICATION FOR A PRELIMINARY INJUNCTION

I, Ladan F. Stewart, pursuant to 28 U.S.C. § 1746, declare as follows:

I. 1 am a member of the bar of the State of New York and of the United States
District Court for the Southern District of New York. Iam employed by Plaintiff Securities and
Exchange Commission (the “SEC”) in its New York Regional Office as Senior Counsel in the
Enforcement Division.

2. I have personal knowledge of the facts and circumstances of the case. As counsel
representing the SEC, J reviewed information and documents obtained by the SEC during its
investigation and litigation of this matter, including documents described herein, and information
provided to me by members of the SEC staff.

3. I am submitting this Declaration to put forth exhibits in support of the
SEC’s motion for summary judgment against Defendants Telegram Group Inc. and TON

Issuer Inc.
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4. Attached hereto are true and correct copies of the following documents or excerpts
thereof:
Exhibit Document Description Bates
PX139 | Grams Wallet Terms of Service dated October 8, N/A
2019
PX140 | Article dated January 8, 2020 N/A
PX141 | Article dated January 7, 2020 N/A
PX142 | Email chain dated August 29, 2019 TLGRM-005-00005209 — 10
PX143 | Article dated February 3, 2018 N/A
PX144 | Article dated March 4, 2018 N/A
PX145 | Email dated January 16, 2018 BB 000204 -— 05
PX146 | Email chain dated January 13 to 16, 2018 GE 00367 —68
PX147 | Email chain dated January 9 to 14, 2018 BE 00000383
PX148 | Email dated January 14, 2018 HE 001964
PX149 | Email dated October 2, 2019 and attachment TLGRM-005-00005283 — 86
PX150 | Email dated January 15, 2018 PE TELEGRAM 000648
PX151 | Email dated February 19, 2018 PE 001303
PX152 | Email chain dated February 20, 2018 BE 1002820
PX153 | Email chain dated May 9, 2018 TG-005-00005395
PX154 | Email chain dated February 20, 2018 TLGRM-007-00019108 —09
PX155 | Excerpts of Purchase Agreement dated March 14, | TLGRM-014-00015213, 15239-41
2018
PX156 | Email dated March 26, 2018 TLGRM-007-00029245
PX157 | Email chain dated March 26, 2018 TLGRM-007-00009130
PX158 | Email chain dated May 2 to 3, 2018 TLGRM-012-00013082 — 83

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PX159

Email dated April 16,2018

TLGRM-017-00000140

PX160

Excerpts of Purchase Agreement dated March 29,
2018

TLGRM-007-00030905, 0003093 1-33

PX2161

Excerpts of Purchase Agreement dated April 26,
2018

TLGRM-016-000203 12, 2033840

PX162

Excerpts of Purchase Agreement dated May 10,
2018

TLGRM-014-00015242, 15268—70

PX163 | Excerpts of Purchase Agreement dated March 14, | TLGRM-012-00011573, 11599601
2018

PX164 | Invoice dated June 26, 2018 TLGRM-020-00000005

PX165 | Equity analysis dated May 20, 2019 N/A

PX166 | Article dated June 14, 2019 N/A

PX167 | Indication of Interest dated February 20, 2018 TLGRM-019-00001766 — 72

PX168 | KYC Forms dated March 1, 2018 TLGRM-003-00002853 — 60

PX169 | Email dated January 18, 2018 BI 000358

PX170 | Organizational chart TLGRM-014-00004452

PX171 | Excerpts of Purchase Agreement dated March 19, | TLGRM-007-00027461, 27487— 89
2018

PX172 | Deed of Amendment to Purchase Agreement dated | TLGRM-007-00032067—71
May 2, 2018

PX173 | Email dated January 11, 2018 TLGRM-007-00069539

PX174 | Agreement dated June 22, 2018 TLGRM-015-00001263 — 66

PX175 | Invoice dated September 21, 2018 TLGRM-025-00000954

PX176 | Invoice dated November 8, 2018 TLGRM-017-00000288

PX177 | Indication of Interest dated February 22, 2018 TLGRM-007-00019903 — 09

PX178 | Excerpts of Purchase Agreement dated February 6, | TLGRM-014-00016868, 16890-92

2018

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PX179

Excerpts of Purchase Agreement dated February 9,
2018

TLGRM-014-0001 6800 — 24

PX180

Telegram purchase allocation

TLGRM-012-00013185

PX181 | Company overview dated January 29, 2018 TLGRM-009-00001835 — 36

PX182 | Excerpts of Purchase Agreement dated March 19, | TLGRM-007-00032699, 32725-27
2018

PX183 | Excerpts of Purchase Agreement dated March 19, | TLGRM-014-00016956, 16982— 84
2018

PX184 | Deed of Amendment to Purchase Agreement dated | TLGRM-014-00016946 — 50
July 2, 2018

PX185 | Excerpts of Purchase Agreement dated July 2, TLGRM-014-00016997, 17023-25
2018

PX186 | Deed of Amendment to Purchase Agreement dated | TLGRM-014-00016991 — 96
October 22, 2018

PX187 | Deed of Amendment to Purchase Agreement dated | TLGRM-014-00016985 — 90
December 3, 2018

PX188 | Invoice dated October 11, 2018 TLGRM-017-00000227 — 28

PX190 | Article dated June 11, 2019 N/A

PX191 | Article dated June 11, 2019 N/A

PX192 | Article dated June 14, 2019 N/A

PX193 | Article dated September 2, 2019 N/A

PX194 | Email dated January 15, 2018 TELEGRAM _000665

— 68

PX195 | Email dated June 23, 2019 BE 0027300

PX196 | Email dated July 3, 2019 BON 0004650

PX197 | Sales Agent Services Agreement date January 15, | TLGRM-015-00000017 — 19
2018

PX198 | Expert Report of Andrew Lewis-Pye dated January | N/A

10, 2020

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PX199 | Excerpts of deposition of I. Perekopsky dated N/A
December 5, 2019

PX200 | Excerpts of deposition of S. Parekh dated N/A
December 10, 2019

PX201 | Chat dated January 27, 2018 (original and English | TG-007-00000674 — 86
translation)

I declare under penalty of perjury that the foregoing is true and correct.

Ldepgf

Ladan ff. Stewart

Dated: New York, New York
January 21, 2020

